                     Case 4:24-cv-08794-DMR                   Document 6                                     Filed 12/06/24     Page 1 of 3

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                        NorthernDistrict
                                                     __________ Districtof
                                                                         of__________
                                                                           California


   MG RESTAURANTS, INC., d/b/a Mixt, a California                             )
                corporation,                                                  )
                                                                              )
                                                                              )
                             Plaintiff(s)                                     )
                                                                              )
                                 v.                                                             Civil Action No.           4:24-cv-08794-DMR
   PICNIC DELIVERY LLC, d/b/a Picnic and trypicnic.com, a
                                                                              )
       Delaware limited liability company, RESTAURANT                         )
TECHNOLOGY SOLUTIONS LLC, d/b/a Otter and tryotter.com,                       )
a Delaware limited liability corporation, WIRED UP SOLUTIONS,                 )
      LLC, a Delaware limited liability company, inclusive.                   )
                            Defendant(s)                                      )

                                                     SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) PICNIC DELIVERY LLC, d/b/a Picnic and trypicnic.com
                                            777 S. Figueroa Street, Suite 4100
                                            Los Angeles, CA 90017




           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: BRIAN R. BLACKMAN (SBN 196996)
                                            BLAXTER | BLACKMAN LLP
                                            601 Montgomery Street, Suite 1110
                                            San Francisco, California 94111



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



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 Date:           12/06/2024
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                                                                                             C                       Signature of Clerk or Deputy Clerk
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 Civil Action No. 4:24-cv-08794-DMR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                MG RESTAURANTS, INC. v. PICNIC DELIVERY LLC, et al.
                             (4:24-cv-08794-DMR)

                               ATTACHMENT TO SUMMONS

DEFENDANTS TO BE SERVED:


RESTAURANT TECHNOLOGY SOLUTIONS LLC, d/b/a Otter and tryotter.com
777 S. Figueroa Street, Suite 4100
Los Angeles, CA 90017

WIRED UP SOLUTIONS, LLC
777 S. Figueroa Street, Suite 4100
Los Angeles, CA 90017
